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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    WACO DIVISION


 VOIP-PAL.COM, INC.

                 Plaintiff,                         CIVIL ACTION NO. 6:20-cv-00269-ADA

         v.
                                                    JURY TRIAL DEMANDED
 GOOGLE, LLC,

                 Defendant.


              FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT

         Under Fed. R. Civ. P. 15(a)(1)(B), Plaintiff VoIP-Pal.com, Inc. (“VoIP-Pal”), for its First

Amended Complaint against Defendant Google, LLC (“Google”) alleges as follows:

                                          THE PARTIES

         1.     Plaintiff VoIP-Pal.com, Inc. (“VoIP-Pal”) is a Nevada corporation with its

principal place of business located at 10900 NE 4th Street, Suite 2300, Bellevue, Washington

98004.

         2.     On information and belief, Defendant Google, LLC (“Google”) is a Delaware

corporation with a physical address at 500 West 2nd Street, Austin, Texas 78701. Google may

be served with process through its registered agent, the Corporation Service Company, at 211

East 7th Street, Suite 620, Austin, Texas 78701. Google is registered to do business in the State

of Texas and has been since at least November 17, 2006.

         3.     On information and belief, Google regularly conducts and transacts business in

the State of Texas, throughout the United States, and within this District, and as set forth below,

has committed and continue to commit, tortious acts of infringement within and outside the State

of Texas and within this District.
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                                  JURISDICTION AND VENUE

       4.      This action is a civil action for patent infringement arising under the patent laws

of the United States, Title 35, United States Code (“U.S.C.”) §1 et seq., including 35 U.S.C. §§

271 and 281-285. This Court has exclusive subject matter jurisdiction over this case for patent

infringement under 28 U.S.C. §§ 1331 and 1338.

       5.      This Court has personal jurisdiction over Google by virtue of its systematic and

continuous contacts with this jurisdiction, as alleged herein, as well as because the injury to

VoIP-Pal occurred in the State of Texas and the claim for relief possessed by VoIP-Pal against

Google for that injury arose in the State of Texas. On information and belief, Google has

purposely availed itself of the privileges of conducting business within the State of Texas, such

business including but not limited to: (i) at least a portion of the infringements alleged herein; (ii)

purposefully and voluntarily placing one or more infringing products into the stream of

commerce with the expectation that they will be purchased by consumers in this forum; or (iii)

regularly transacting or soliciting business, engaging in other persistent courses of conduct, or

deriving or attempting to derive substantial revenue and financial benefits from goods and

services provided to individuals residing in the State of Texas and in this District. Thus, Google

is subject to this Court’s specific and general personal jurisdiction under due process and the

Texas Long Arm Statute.

        6.     Personal jurisdiction also exists specifically over Google because Google, directly

or through subsidiaries or intermediaries (including customers, distributors, retailers, and

others), subsidiaries, alter egos, and/or agents – ships, distributes, offers for sale, sells, imports,

advertises, or markets in the State of Texas and in this District, one or more products that

infringe the Patent-in-Suit, as described particularly below. Google has purposefully and



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voluntarily placed one or more of its infringing products, as described below, into the stream of

commerce with the awareness and/or intent that these products will be purchased by consumers

in this District. Google has knowingly and purposefully shipped infringing products into and

within this District through an established distribution channel. These infringing products have

been and continue to be purchased by consumers in this District. In addition, on information and

belief, Google has found indirect ways to monetize consumers’ use of its products, for example,

by promoting consumers’ adherence to Google’s technological ecosystems and promoting sales

of related Google products and by selling opportunities to advertise to consumers of its products.


        7.      VoIP-Pal’s claim for relief for patent infringement arises directly from the

activities of Google in this District.


        8.      On information and belief, Google, directly and/or through its customers has

transacted business in this District and has committed acts of patent infringement in this

District. By virtue of its office in this District, Google has a regular and established place of

business in this District. Thus, venue is proper in this District under 28 U.S.C. §§ 1391 and

1400(b).

           BACKGROUND OF THE TECHNOLOGY AND THE PATENT-IN-SUIT

        9.      United States Patent No. 10,218,606 (the “’606 patent”) entitled “Producing

Routing Messages For Voice Over IP Communications” was duly and legally issued by the

United States Patent and Trademark Office on February 26, 2019. A copy of the ’606 patent is

attached hereto as Exhibit 1.

        10.     The ’606 patent is referred to in this Complaint as the “Patent-in-Suit”.

        11.     The inventions of the Patent-in-Suit originated from breakthrough work and

development in the internet protocol communications field.

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       12.     VoIP-Pal has provided significant improvements to communications technology

by the invention of novel methods, processes and apparatuses that facilitate communications

across and between internet protocol based communication systems and networks, such as

internally controlled systems and external networks (e.g., across private networks and between

private networks and public networks), including the classification and routing thereof.

       13.     The earliest telephone systems to receive public use within the United States

involved a telephone directly connected to a human operator. A portion of the phone rested on a

mechanical hook such that the operator was signaled when the portion was lifted from the hook.

A caller would then say the name of the person they wished to call to the operator. If the callee

was connected to the same telephone switch board the operator would physically pull out a cable

associated with the caller’s phone and plug the cable into a socket associated with the callee’s

telephone. If the callee was associated with a different switchboard, and thus out of reach of the

operator, a second operator would be involved to bridge the gap to the appropriate switchboard.

While initially very effective compared to no telephone service, this structure quickly proved

error prone (operators would connect the wrong party) and limiting to the number of possible

telephones because of the physical limits of switchboards and cable to be pulled. This basic

system corresponds to the introduction of a Plain Old Telephone Service (“POTS”) connection to

the operator. In these configurations, there was a dedicated, point-to-point electrical connection

between the caller and the callee.

       14.     Rotary dialing eventually was introduced, beginning at around the turn of the 20th

century, where a rotary disk was marked with numbers from zero to nine. A caller would spin the

wheel and a mechanical device in the telephone would cause a sequence of electrical pulses to be

sent to the network corresponding to the digit dialed, for example, four pulses would be sent for



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the number four. Rather than speaking to a human operator, an electric device would count the

pulses and begin to route a call once an appropriate and valid sequence of digits was dialed by

the caller. This advancement improved reliability of call routing and reduced the time required to

initiate a call. But, even so, there was a dedicated, point-to-point electrical connection between

the caller and the callee. As multiple companies entered the market of telephone service and the

number of customers increased, an issue emerged where a caller would be a customer of one

telephone company and the callee would be a customer of another. The solution that emerged to

this problem was to introduce trunk lines connecting one company to another.

       15.     Eventually, as the number of companies continued to increase and telephone

services spread over much larger geographic areas, the notion of a Public Switched Telephone

Service (“PSTN”) emerged. The term derives from the notion, at least in part, that the dedicated

wires used to connect the caller and callee were “circuit-switched” to connect the two parties.

The PSTN developed gradually into the middle of the 20th century, still built around the notion

of rotary dialing and POTS connections to the individual telephones. These calls involved analog

communications over circuit-switched electrical connections. A circuit-switched network

involves assigning dedicated resources, such as switch settings and specific wires, to establish a

link from the caller to the callee. While the call is ongoing, these resources cannot be used for

any other communications.

       16.     The next important advancement for consumer telephone service, introduced

broadly during the second half of the 20th century, was the introduction of push-button

telephones. With such telephones the rotary dial was replaced by a matrix of buttons, each

labeled with a digit from zero through nine along with the additions of ‘*’ and ‘#’. The

underlying signaling technology was called dual-tone multiple-frequency (“DTMF”) and



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involves two different audible tones being sent simultaneously from the telephone into the

telephone network. A receiver within the network decoded these tones and formed them into a

sequence of digits indicating the number of the callee.

       17.     Around this same time a scheme for international telephone addressing was

introduced, with a numeric protocol for identifying one country from another and providing

country-specific routing within the destination country. The E.164 standard now documents how

a caller anywhere in the world, for example, in Ann Arbor, Michigan, can identify a telephone

number at any other location, such as Avignon, France. While many of these advances, such as

DTMF dialing and automated international routing, may have been originally introduced via ad

hoc methods, eventually they required multiple parties (companies and governments) to agree on

protocols to enable wide-spread reliable use and inter-operability among different telephone

communications networks. Even with all these advances, the systems still relied on circuit-

switched technology that dedicated resources between the caller and the callee for the duration of

a call. The move to take human operators out of the loop, with the introduction of rotary dialing,

combined with the fast increase in demand for telephone services throughout the 20th century,

resulted in the development of automated telephone switches. These devices comprised a set of

input ports, each dedicated to, and associated with a specific caller, and output ports, each

capable of being associated with a callee. A small local telephone system may have had a single

switch while a larger service would use a large number of switches that were connected to each

other. A switch from a local service provider would be connected to a trunk line which then

connected to an input switch of another service provider. These switches originally supported

analog voice calls initiated via rotary dialing and dedicating input and output ports as well as

physical wires for each circuit-switched call.



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       18.     Eventually analog voice services were replaced within the network with digital

voice. Digital voice is communicated using a sequence of chunks (or packets) of data. This

advancement allowed physical resources to be shared among multiple calls over short bursts of

time. For example, a physical wire can move a packet for one call at a specific instance in time

and then move a packet for a totally different call subsequently, only to later return to transfer a

new packet for the original call. This advance is called packet-switched communications and

provided an important increase in network reliability and efficiency while driving down the cost.

However, in most situations throughout the 20th century (and often still today), the connection to

the end user’s physical telephone is analog. While network switches operate via digital circuitry,

and often comprise programmable processors executing software, they tend to be dedicated

special-purpose devices. The conversion between analog and digital encoding is typically done at

the point where the PSTN network switch connects to the POTS handset, for example, at a

device called a Class-5 telephone switch, which connects the customer POTS handset to the

PSTN network of a service provider’s central office.

       19.     The Internet became important to consumers, via broad deployment, during the

late 1980’s and early 1990’s. Eventually available bandwidth and reliability increased to the

point where pioneers began to experiment with techniques to carry voice communications over

the Internet. These early efforts began to focus on techniques called Voice Over Internet Protocol

(VOIP) and session initiation protocol (SIP). VOIP provided a consistent set of protocols and

mechanisms for moving digital voice packets between two callers using the Internet rather than

existing PSTN networks. SIP provided a mechanism for establishing and terminating

communication sessions such as calls between users of a VOIP service. For example, a callee

could register with a VOIP service so that an identifier (such as their name, email address or a



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nickname) could be associated with the computer to which they are logged in. Eventually VOIP

services increased to provide interoperability with the existing PSTN services. For example, the

company Skype began to allow a user to call a PSTN number using a feature marketed as “Skype

out”. However, the user was required to explicitly classify the call as a PSTN call by specifying a

real physical telephone number. In this case the VOIP system must include a gateway to bridge

from the VOIP network to the PSTN network in order to route to the physical telephone. Calls

that use a proprietary non-PSTN user identifier such as an email or nickname remain within the

VOIP network and are not routed to the PSTN network and do not connect to a POTS telephone.

       20.     The advent of VOIP technology allowed customers to physically move their

telephones from one location to another, even from one continent to another, with no

fundamental change in its operation from the point of view of a caller once a connection to the

Internet was established. However, the integration of network gateways to route between

different types of networks using VOIP, for example from a VOIP caller in Europe to a PSTN

callee in the United States, introduced a number of new complications. The VOIP service needed

to be able to distinguish between callees that were within the VOIP network and those that were

outside of it and thus required different methods for identifying callees and routing to them

depending on whether the callees were within or outside the VOIP network. One way to identify

callees on the VOIP network was to use a predefined proprietary user identifier such as an email

or nickname. The VOIP service provider also needed to interpret dialed PSTN numbers in order

to correctly route calls to a PSTN callee. A VOIP caller had to use different types of callee

identifier depending on whether or not the destination (callee) they were calling was within the

VOIP network or not. The caller’s choice of the type of callee identifier thus specified the




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network of the destination to be called. However, the asserted Patent-in-Suit discloses and

claims a distinct manner of call routing.

       21.     Digifonica, a wholly owned subsidiary of patent owner VoIP-Pal, starting in 2004

eventually came to employ over a dozen top professionals (e.g., software developers, system

administrators, QA/test analysts) including three Ph.D.’s with engineering backgrounds, to

develop innovative software solutions for communications. Digifonica spent over $15,000,000

researching, developing, and testing a communication solution capable of seamlessly integrating

a private voice-over-IP (“VoIP”) communication network with an external network (i.e., the

“public switched telephone network” or “PSTN”), by bridging the disparate protocols,

destination identifiers and addressing schemes used in the two networks. By the mid-2000’s,

Digifonica had successfully tested intra- and inter-network communications (i.e.,

communications within the private Digifonica system and between the Digifonica system and the

PSTN) by implementing high-capacity communication nodes across three geographic regions,

including actual working communication nodes in Vancouver (Canada) and London (UK). See

’606 patent at Fig. 1 (nodes 11, 21) and 13:19-35. Digifonica’s R&D efforts led to a number of

patent grants, including U.S. Patent No. 8,542,815, to which the Patent-in-Suit claims priority.

       22.     Prior to the ‘815 patent, private branch exchange (PBX) systems typically enabled

users to call destinations internal to the PBX by dialing an extension (i.e., “private number”) and

destinations external to the PBX on the public switched telephone network (PSTN) by dialing a

“public number.” Such PBX systems relied on a user-specified classification of the dialed

number to interpret the number and route the call. For example, it was a well-known practice to

require that a user placing a call to the public network dial a predefined prefix such as “9” to

indicate that subsequent digits were to be interpreted as a public PSTN number. If no prefix was



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dialed, the dialed digits were to be interpreted as a private PBX extension. The number alone, as

dialed, dictated how the call was routed. Thus, the user made an affirmative decision when

placing a call as to whether the call would be routed over a public or private network.

        23.     Digifonica’s system employed an approach fundamentally different from

traditional PBX’s: it did not rely on a caller-specified classification (e.g., a prefix digit) to

distinguish private calls from PSTN calls. Rather, Digifonica provided flexible, user-specific

dialing features and could decouple the type of number being called from the manner in which

the call would be handled. For example, even if a public PSTN number was dialed, Digifonica’s

system could determine that the call should be routed to an internal destination on its private

network, thus allowing the advantages of private network calling even if callers were unaware

that the call recipient (“callee”) was a Digifonica system subscriber. If, on the other hand, the

PSTN number represented a destination on an external network (e.g., the public network), the

Digifonica system facilitated the routing of the call to the destination through a gateway.

        24.     VoIP-Pal’s/Digifonica’s technology and patents represent fundamental

advancements to Internet Protocol (“IP”) based communication, including improved functioning,

classification, routing and reliability of Voice-over-IP (VoIP) and IP-based transmission of

video, photographs, messages and mixed media, as well as improved interoperability of IP-based

private communication networks with external networks, such as the public switched telephone

network (PSTN), interconnected with the private communication networks via one or more

gateways.

        25.     The Patent-in-Suit provides, inter alia, improvements in routing controllers,

processes, networks and systems. Several illustrative examples of such improvements are briefly




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described below, although the patented invention is not limited to these specific improvements or

examples.

       26.     The public switched telephone network (PSTN) connected callers through nodes

such as central offices or exchanges. Because these nodes were limited to providing services

only to subscribers in a “local calling service area,” they required callers to place calls in a

specific manner, e.g., by requiring the use of certain dialing patterns and conventions associated

with that local area. See ’606 patent at 1:42-46. For example, it was known to persons of skill in

the field of the invention that PSTN nodes conventionally required PSTN callers to dial in a

manner compatible with a local numbering plan (e.g., in the U.S., a plan consistent with the

“North American Numbering Plan” or “National Numbering Plan,” in use by AT&T as early as

about the 1940’s and further developed in later years) as well as to dial in a manner compatible

with international standards such as those of the International Telecommunications Union (ITU)

Telecommunications Standardization Sector (ITU-T). See ’606 patent at 19:52-66. For example,

it is known in the field of telephony that early numbering plans assigned an “area code” of 312

for calling Illinois, and that this area code (312) remains in use even today as an area code for

Chicago. To take another example, the ITU designates “44” as a “country code” for calling the

United Kingdom. Id. at Fig. 12 (“County Code” attribute for London user is “44”).

       27.     Large organizations were able to avoid PSTN dialing constraints, at least for

internal calls, by using private branch exchanges (PBXs) and private numbering plans for their

internal private telephone networks, but these PBXs also needed to provide caller access to the

PSTN. See ’606 patent at 1:35-48. As Andy Valdar has explained in his textbook, “Businesses

which have more than a few telephones use a private branch exchange system, known as a PBX,

to provide call connections between each telephone (which become ‘extensions’) and links into



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the PSTN... The PBX is really a small version of the PSTN exchanges, typically ranging in sizes

from 10 up to 5,000 extensions. A private numbering scheme is required to enable extension to

extension dialing, also special codes (e.g. ‘dial 9’) are required to enable calls to be made to the

PSTN. [...] In the case where a company extends over two or more sites (e.g. office or factory

buildings) the PBXs on each site can be linked by private circuits, thus enabling calling between

all the extensions. This is known as a ‘private corporate network’ (or just ‘private network’). In

this case the private numbering scheme extends across all the PBXs and usually each PBX is

linked to the PSTN.” (See Valdar, Andy, Understanding Telecommunications Networks, The

Institution of Engineering and Technology, London, UK, 2006, p. 38 (emphasis added)).

       28.     It was well-understood, routine and conventional for PBXs to require users to dial

a special code (e.g., a prefix digit of “9”) if they wanted to place a call on the PSTN, as noted by

Valdar and numerous other sources. For example, one telecom dictionary distinguishes between

dialing an “internal PBX station number” and an “external number,” wherein in the latter case,

“the user must dial an access code in order to gain access to an external trunk connected to the

public switched telephone network (PSTN)... The conventional access code is nine (9) in the

United States and Canada, and zero (0) in most other countries”. (See Ray Horak, Webster’s

New World Telecom Dictionary, Wiley Publishing, Inc., Indianapolis, Indiana, 2008, p.133

[emphasis added]). To take another example, U.S. Patent No. 3,725,596 to Maxon et al.

(“Maxon”), filed in 1971, discloses an discloses an early private branch exchange (PBX) having

equipment for automatically generating and transmitting calling station and trunk number

information to a central office on outgoing calls. Maxon indicates that “a calling party at station

ST10... dials a prefix digit, such as the conventional prefix digit 9, to initiate an outgoing call to

the central office. The digit 9 is... detected by the dial 9 detector 152. Upon the detection of this



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digit, the register control circuit 153 advises common control that the digit 9 has been dialed for

a central office call.” [emphasis added]. Maxon at 9:66-10:6; see also Fig. 1B (152), 8:58-68,

9:21, 9:38-40, 13:3-6, 14:6-7 and at 14:59. Webster’s New World Telecom dictionary and

Maxon both confirm that it was considered “conventional” to use a prefix digit such as “9” to

place a PSTN call from a PBX. The Patent-in-Suit eschewed such well-understood, routine and

conventional approaches to integrating these two networks.

        29.     A person of skill in the art (POSITA), upon review of the Patent-in-Suit, would

have understood that the disclosed embodiments are inherently computer-based. The POSITA

would further appreciate that the asserted claims of the Patent-in-Suit are necessarily rooted in

computer technology for the operation of communication networks, and provide technical

improvements to overcome certain technical limitations of prior art routing processes, systems

and networks, viz., that the asserted claims provide technology solutions for one or more of: (1)

user-specific communication handling, (2) transparent routing, and (3) network resiliency and (4)

communication blocking.

        30.     User-Specific Communication Handling: Many prior art communication systems

required users to place a call by using a specific callee identifier format or by following certain

dialing conventions with no opportunity for defining a user-specific manner of placing calls. For

example, as discussed above, PSTN nodes were typically limited to supporting only the dialing

conventions of their local calling service area and processed calls locally (See ’606 patent at

1:42-46) and did not support user-specific calling. The technology disclosed in the Patent-in-Suit

and recited in the asserted claims overcomes such technical limitations and supports user-specific

calling styles, e.g., calling styles from any continent or country based on the application of user-

specific attributes and network classification criteria to callee identifiers to route a call. It is



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unnecessary for the user to do anything special to “trigger” such user-specific call processing.

See, e.g., ’606 patent at 15:48-60 and 19:36-51 (disclosing storing user-specific parameters in

association with each subscriber/user), 19:18-42 (describing a user-specific dialing profile

capable of supporting numerous global styles of dialing), and Figs. 8A-8D (disclosing steps for

processing a routing request based in part on user-specific parameters). By evaluating a called

party identifier based on profile settings or “attributes” associated with the calling party, the

technology provides an individually customizable manner of initiating a communication to a

destination party. To be clear, it is not merely a calling party’s identifier (i.e., “caller ID” or

“caller identifier”) that is used to evaluate the called party’s identifier (e.g., “callee identifier”);

rather, a caller-specific profile, identifying caller-specific parameters/attributes, is used to

evaluate the called party’s identifier, to determine the routing destination and to engage the

appropriate infrastructure for effecting the communication. A skilled person in the field of the

invention would recognize, in light of the patent specification, that this approach is capable of

fulfilling various individual service preferences among users for initiating communications (e.g.,

any desired PSTN dialing style, unconventional dialing styles, and even use of special callee

identifiers such as usernames). See id. at 19:36-48; 20:33-47; 22:3-23:22. To give just one

illustrative example, the profiles of two different users may specify different ways of dialing an

international call (e.g., an “IDD” attribute in two different user’s profiles may differ: see id.,

“IDD” attributes in the user profiles shown in Figs. 11 and 12 are set to “011” and “00”,

respectively; compare blocks 257-259 in Fig. 8B). All of the asserted claims of the Patent-in-Suit

enable user-specific handling of communications; in particular, every claim recites relies on

user-specific attributes, associated with a user-specific profile of the calling party, for

determining and establishing routing to the destination. Enabling a communication system,



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node, or routing controller to provide customized, user-specific communication handling to each

individual user represents a technological improvement over conventional prior communication

systems, nodes, and devices, which simply imposed “one-size-fits-all” methods of

communication on all users.

       31.     Routing Transparency: Some prior art communication systems required a user to

explicitly signal how a call should be processed or to manually “trigger” special call handling.

For example, as discussed above, it was well-understood, routine and conventional for PBX

systems in large organizations to rely on a user-specified classification of the dialed number to

interpret the number and route the call—e.g., a user placing a call to the PSTN would dial a

predefined prefix such as “9” to indicate that subsequent digits were to be interpreted as a PSTN

number. If no prefix was dialed, the dialed digits were interpreted as a private PBX extension.

The dialed digits alone dictated how the call was routed, and thus the user made an affirmative

decision when placing a call as to how the call’s routing would take place. Furthermore, when a

PSTN number was dialed, the PSTN number itself identified which PSTN node within the public

switched telephone network was connected to the called party. In the foregoing example, the

PBX failed not only to provide user-specific call handling, but it also lacked routing

transparency. In contrast, the asserted claims of the Patent-in-Suit use a caller’s attributes to

evaluate a callee identifier against network routing criteria to cause a call to automatically be

routed over a system network/node or another network (e.g., such as the PSTN) interconnected

to the system network through a gateway, transparently to the user, without the user manually

specifying which network or node to use for routing by the user’s manner of placing the call

(e.g., by dialing a prefix of “9” to make a PSTN call) and without requiring that a particular

callee identifier be routed to a destination on a particular network or node. Instead, in the



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provided solution, the system itself identifies which network and/or node to use for routing. This

is an improvement over conventional prior approaches because the caller need not know or

specify the location of a destination (e.g., the network or node of the called party); moreover, a

particular callee identifier can be flexibly assigned (or reassigned) to different networks or nodes.

Still further, the assignment of PSTN telephone numbers need not follow PSTN conventions, for

example, a subscriber’s communication device can be assigned a PSTN number corresponding to

a different geographical location on the PSTN (e.g., a Calgary user can be assigned a phone

number (“1-604-867-5309”) with a non-Calgary area code (“604”) and exchange code (“867”):

see id. at Figs. 11 and 14)—and the system will transparently route calls to the Calgary user’s

device without the caller even recognizing that the destination device is not located within the

geographic area associated with the “604” area code or the “867” PSTN exchange (node).

       32.     To further illustrate these benefits with one embodiment disclosed in the ’606

patent, if a Vancouver user (user profile in Fig. 10) dialed a PSTN phone number associated with

the London user (user profile in Fig. 12), the system would evaluate the dialed digits based on

the caller’s attributes, determine that the London user is a subscriber to the system, and classify

the call as a system network call, identifying a subscriber username such as “44011062444” (See

’606 patent at Fig. 8B, Fig. 12, 21:1-10). A routing controller (id. at 16 in Figs. 1 and 7)

determines that the London subscriber is associated with a different system communication node

than the Vancouver subscriber, and produces a routing message identifying that node (id. at Fig.

16; see also id. at 21:10-34; Fig. 8A at 280, 302, 350, 381) for receipt by a call controller (id. at

14 in Fig. 1), thereby causing the call controller to establish the call (id. at 27:40-43). The caller

in this illustrative embodiment need not be aware that the London user is a subscriber and need

not know whether or not the call is being placed over the PSTN, nor does the caller need to know



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which system node the called party uses. Thus, the identification of the destination network and

node is transparent to the user: the same manner of initiating a communication can reach

destinations associated with any node of the system and on either network. For example, the

caller could also call a PSTN number in London, UK representing a non-subscriber phone in

London in the same manner, and the system would determine in that case that the call should be

established via the PSTN, in which case the routing message would identify at least one

appropriate gateway for routing the call (id. at 23:50-25-60 and Fig. 25). All the claims of the

Patent-in-Suit recite features that enable transparent routing.

       33.     In some claimed embodiments of the invention, a node associated with the callee

identifier is identified (e.g., from a callee profile stored in the communication system) and the

communication is automatically forwarded to that node for further handling. See ’606 patent at

Fig. 8A (302, 350, 381). This, too, is transparent to the originator of the communication, who

does not have to take any special action to “trigger” the identification of, or routing to, a node

with which the callee is associated. In this manner, the system architecture can distribute the load

of very large numbers of subscribers from a large geographic area without imposing any

requirement on users to know how to route to the node at which the callee is currently registered.

See ’606 patent at 13:20-44. If the system operator should reassign subscribers or adds nodes to

the system, as needed, for better performance or to maintain quality of service, the caller need

not know this—the node can be identified dynamically. In contrast, in the conventional PSTN,

when a new “area code” was overlaid to handle larger number of customers, callers were

inconvenienced by having to learn new phone numbers or styles of dialing. Similarly, it was

known that conventional PSTN exchanges (nodes) required that a particular exchange code be

used as part of any PSTN telephone numbers assigned to that exchange. Unlike conventional



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PSTN equipment, Digifonica’s routing system removed the requirement to assign particular

callee identifiers to nodes located in a particular geographic area. Thus, Digifonica’s system

architecture and operation not only provided improved transparency and flexibility in routing via

nodes of the system (as well as via gateways), it also gave rise to improved system resiliency,

aspects of which are described below in greater detail with reference to the patent specification.

       34.     Yet another benefit was that Digifonica’s technology enabled automatic network

selection based on determination of a callee’s registration status. Because Digifonica’s system

supported the use of PSTN numbers both for subscribers on its own private network as well as

for non-subscribers on a public network (e.g., the PSTN), a caller might know the PSTN number

of a destination without knowing whether the destination was reachable via Digifonica’s IP-

based network. Digifonica’s technology automatically determined whether the destination was a

subscriber and, if so, routed over Digifonica’s network notwithstanding that a PSTN number had

been dialed. This enabled callers to receive the advantages of IP-based private network calling

even when callers were unaware that the callee was a Digifonica system subscriber; such calls

could be transparently placed over Digifonica’s IP-based network at lower cost, with better

quality and/or higher reliability than if the call had been sent over the PSTN network. In

comparison to the prior art examples described above, Digifonica’s approach was

unconventional in that it decoupled the type of number being dialed from the classification and

routing of the call. As a further aspect, Digifonica’s network was designed to support multiple

resellers of its communication services: See, e.g., ’606 patent at 19:22-24, 31:45-32:54; and Figs.

9-12 (field 273), 41, 43, 45, 47-50, disclosing support for different resellers (e.g., phone

companies retailing communication services based on Digifonica’s network under their own

brand). Using the aforesaid technology, calls by callers to callees who were affiliated with a



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different reseller of communication services based on Digifonica’s network, would automatically

and transparently be routed over Digifonica’s IP-based network even without the caller or callee

knowing that both parties were Digifonica subscribers. Such network selection was especially

helpful to overcome the costs and limitations of public networks when the calls were

international, e.g., from callers using Digifonica’s node in North America (e.g., Vancouver) to

callees associated with the node in Europe (e.g., London). Id. at Fig. 1.

        35.     Resiliency: Some prior art provided service to a limited area “[such as] one

location, or a small number of branch offices” (see ’606 patent at 1:56-59) but was incapable of

providing reliable service to a large number of subscribers dispersed over a geographically

dispersed area such as a continent (id. at 1:53-56). For example, PSTN exchanges and nodes

were limited to serving a “local calling service area” (id. at 1:42-48), whereas the PBX systems

described above in the Valdar textbook were “really a small version of the PSTN exchanges,

typically ranging in sizes from 10 up to 5,000 extensions” (see Valdar, supra; cf. ’606 patent at

1:35-39). Furthermore, at a system-level, such networks did not always have “other nodes... able

to take up the load” if a particular node failed, e.g., due to a natural disaster (See ’606 patent at

1:45-52). In contrast, the patented inventions can provide reliable service to large areas including

countries and continents. This gave rise to technical challenges regarding how to handle issues

such as a very large number of subscribers, bursts of excessive demand and/or the risk of

communication node failure, all of which affected system reliability. The patented inventions

describe technology for flexibly assigning nodes to particular geographical areas, including the

option of adding redundant nodes with overlapping responsibility for load sharing, wherein the

various nodes are configured to provide communication services to sets of subscribers that are

associated with those nodes. See ’606 patent at 13:20-40 (disclosing a network of super nodes



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providing communication services to large geographical regions) and 13:41-44 (disclosing nodes

for “call load sharing”). The technology performed call routing by identifying a suitable system

network node or a gateway (e.g., a gateway to the PSTN) in response to evaluation of the caller’s

attributes, the callee identifier, and available routing resources. See Figs. 8A-D. This design

made it simple to allocate or add new nodes and gateways to particular regions or destinations

(see ’606 patent at 13:20-44 , 25:48-60, 27:40-43; 27:60-28:3). The use of caller attributes, a

callee identifier and routing criteria to produce the routing message, as described in the Patent-

in-Suit, allowed such new nodes and gateways to be identified in the routing message to increase

service availability to subscribers as needed without redesigning the routing apparatus and

process, to create an improved, resilient and reliable global routing system. Unlike some prior art

systems, the Digifonica technology did not need to use SS7 protocol to access PSTN databases

(cf. ’606 patent at 1:39-41), eliminating such dependence as a possible point of failure.

Digifonica’s technology also supported routing through an available gateway that was selected

from among a plurality of supplier gateways, which also improved overall system resilience. See

’606 patent at 27:60-28:19.

       36.     Communication Blocking: Digifonica’s inventions, among other important

advances, enabled various methods of communication blocking. Callers can have caller-specific

attributes associated with their profile for determining, in a caller-specific manner, whether or

not they are permitted to initiate a communication. See ’606 patent at 20:12-30. Furthermore,

the caller-specific attributes associated with the caller’s profile can provide a basis for

establishing whether an attempted communication is valid, e.g., by checking the validity of the

called party identifier. See ’606 patent at 20:28-32 and Fig. 8B. Notably, what constitutes a valid

initiation of a communication was a user-specific determination because it depended on user-



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specific profile attributes. Digifonica’s approach in this regard was unconventional compared to

the prior art, which imposed a manner of call placement (e.g., dialing style) on all users that was

not configurable in a user-specific manner: e.g., conventionally, all PBX users had to dial a

particular predefined digit to dial PSTN calls; similarly, all PSTN users in a local area could dial

only according to the local numbering plan. Finally, callee-specific information was supported in

Digifonica’s technology for identifying how an incoming communication to each particular

subscriber was to be handled, to enable the communication system to implement selective call

blocking, selective call forwarding, and/or selectively routing communications to voice mail

without interrupting the callee or the caller making an explicit choice. See ’606 patent at Fig. 8A

(e.g., steps 602, 608, 610), Fig. 8B, Figs. 26-32.

       37.     The ’815 patent and the ’005 patent, to which the Patent-in-Suit claim priority,

survived eight inter partes reviews (“IPR’s”) by the U.S. Patent Office based on prior art

disclosing making routing decisions. See IPR2016-01201 and IPR2016-01198, filed by Apple

(final written decisions upholding the validity of all challenged claims), with the remaining IPR’s

all denied institution: IPR2017-01398 and IPR2017-01399 filed by Apple; IPR2017-01383,

IPR2017-01384 and IPR2017-01385, filed by AT&T; and IPR2016-01082, filed by Unified

Patents. The U.S. Patent and Trademark Office rejected all of the cited communication routing

art as not rendering the ’815 patent and the ’005 patent invalid. Apple later filed four inter

partes review petitions against four continuation patents, namely, IPR2019-01003, IPR2019-

01006, IPR2019-01008 and IPR2019-01009, filed against U.S. Patent Nos. 9,537,762 (“the ‘762

IPR”), 9,813,330 (“the ‘330 IPR”), 9,826,002 (“the ‘002 IPR”) and 9,948,549 (“the ‘549 IPR”),

respectively. See Apple, Inc. v. VoIP-Pal.com, Inc., IPR2019-01003, -01006, -01008, -01009,

Paper 2 (P.T.A.B., May 13, 2019). All of these petitions were denied by the PTAB. On



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information and belief, the asserted claims of the Patent-in-Suit are inventive over the art cited

against the parent patents. On information and belief, there are numerous methods of

communication routing in the prior art and thus the claims of the Patent-in-Suit do not preempt

any fundamental longstanding method or system of communication routing. On information and

belief, the specific solutions recited in the claims of the Patent-in-Suit were not performed by

telephone operators or otherwise performed in a “brick-and-mortar” context prior to the

invention thereof by Digifonica personnel.

       38.     As described above, Digifonica eschewed various conventional approaches to

routing communications and instead provided user-specific access to transparent routing across a

distributed network architecture. For example, one inventive concept embodied in the Patent-in-

Suit—which was not well-understood, routine or conventional for persons of skill in the art at the

time of the invention—involved providing an improved routing process, apparatus and system, in

which user-specific profile “attributes” are utilized to evaluate a “second participant identifier” to

identify, in a “routing message,” an appropriate routing “network address” for establishing the

communication, which causes routing of the communication to the destination.

       39.     The Patent-in-Suit represents fundamental advancements to the art of internet

protocol (IP) based communication, including improved functioning, routing and reliability for

communications over the internet and improved interoperability of network infrastructure.

       40.     VoIP-Pal incorporates the Declaration of Dr. William Mangione-Smith

demonstrating, among other things, a person of ordinary skill in the art’s understanding of the

Patent-in-Suit and its claims, and inventive concepts that were not well-understood, routine,

conventional described in the specification and captured in the claims, which is attached as

Exhibit 3.



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       41.        VoIP-Pal is the sole owner and assignee of the entire right title and interest in the

’606 patent and has the right to sue and recover damages for any current or past infringement of

the ’606 patent.


                   OVERVIEW OF THE ACCUSED INSTRUMENTALITIES

       42.        Each of the instrumentalities described in this Complaint made, used, sold and/or

offered for sale by Google comprises systems and devices relating to and supporting

communications using devices, computers, servers, systems and methods used by, operated by

and performed by Google.

       43.        Google operates messaging services (“Hangouts” and “Duo”) that allow users of

communication devices to communicate using text, images, video and audio with users of other

communication devices. Hangouts and Duo include platform-specific mobile device, tablet and

personal computer applications and web user interface software including browser add-ons and

plugins that operate in conjunction with a collection of servers and gateways connected over a

wide area network. Devices running the Hangouts and Duo applications can initiate a

communication between a first participant and a second participant. On information and belief,

each participant device is associated with one or more network elements (e.g., clusters and/or

nodes). The second participant may be associated with the same node and/or cluster as the first

participant or may be associated with another node and/or cluster. The use of first participant

attributes, including a first participant contact list and information stored on Google servers, is

used at least for processing a second participant identifier and/or for determining first participant

account status.

       44.        Google operates a communication service (“Google Home”) that allows users of

smart speaker devices to communicate with users of other smart speaker devices and with mobile


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devices. Google Home includes home automation and smart speaker devices including devices

branded as Google Home and Google Nest (“Google Home Device”) that operate in conjunction

with a collection of servers and gateways connected over a wide area network. Google Home

devices can initiate a communication between a first participant and a second participant. On

information and belief, each participant device is associated with one or more network elements

(e.g., clusters and/or nodes). The second participant may be associated with the same node

and/or cluster as the first participant or may be associated with another node and/or cluster. The

use of first participant attributes, including a first participant contact list and other information

stored on Google servers, is used at least for processing a second participant identifier and/or for

determining first participant account status.

         45.    Hangouts, Duo, Google Home, and Google Home Device are collectively referred

to in this Complaint as the Google Accused Instrumentalities.

                                   COUNT 1
                     INFRINGEMENT OF U. S. PATENT NO. 10,218,606

         46.    Paragraphs 1 through 44 are incorporated by reference as if fully stated in this

Count.

         47.    Google, either alone or in conjunction with others, has infringed and continues to

infringe, both directly and indirectly, one or more claims of the ’606 patent, including at least

exemplary claim 15, under 35 U.S.C. § 271, either literally and/or under the doctrine of

equivalents, by using, offering to sell, selling/licensing and/or importing into the United States at

least certain methods, apparatuses, products and services used for communication, including,

without limitation, the Google Accused Instrumentalities.




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       48.     For example, Google infringes exemplary claim 15 of the ’606 patent by using,

offering to sell, selling/licensing and/or importing into the United States at least the Google

Accused Instrumentalities as detailed in Exhibit 2 to this Complaint.

       49.     On information and belief, Google has had knowledge of the ’606 patent since at

least February 26, 2019 when the ’606 issued and was published by the U.S. Patent Office.

Alternatively, Google has had knowledge of the ’606 patent since at least March 12, 2019 when

VoIP-Pal issued a press release announcing the issuance of the ’606 patent. See

https://www.globenewswire.com/news-release/2019/03/12/1751617/0/en/Voip-Pal-com-

Announces-the-Deadline-for-Filing-an-Opposition-to-Their-European-RBR-Parent-Patent-has-

Expired-with-No-Known-Opposition.html ). Google had knowledge of its infringement of the

’606 patent based at least on the filing of the Original Complaint and/or this First Amended

Complaint.

       50.     Despite its knowledge and notice of the ’606 patent as of at least the filing of the

Original Complaint and/or this First Amended Complaint, Google has continued to make, use,

sell/license and/or offer to sell the Google Accused Instrumentalities in the United States in a

manner that infringes the ’606 patent. Facebook and WhatsApp knew or should have known that

their actions constituted infringement of the ’606 patent. Upon information and belief, Facebook

and WhatsApp have failed to take adequate steps to avoid infringing the ʼ606 patent, despite

having been on notice of and lacking permission to practice the ʼ606 patent. Upon information

and belief, Facebook and WhatsApp will continue to reap significant revenues and savings based

on their infringement of the ’606 patent. Accordingly, Google’s infringement has been and

continues to be willful.




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       51.     Google has induced infringement, and continues to induce infringement, of one or

more claims of the ’606 patent under 35 U.S.C. § 271(b). Google actively, knowingly, and

intentionally induced, and continues to actively, knowingly and intentionally induce

infringement of the ’606 patent by selling or otherwise making available and/or supplying the

Google Accused Instrumentalities; with the knowledge and intent that third parties will use the

Google Accused Instrumentalities supplied by Google to infringe the ’606 patent; and with the

knowledge and intent to encourage and facilitate third party infringement through the

dissemination of the Google Accused Instrumentalities and/or the creation and dissemination of

promotional and marketing materials, supporting materials, instructions, product manuals, and/or

technical information related to the Google Accused Instrumentalities.

       52.     Google specifically intended and was aware that the ordinary and customary use

of the Google Accused Instrumentalities would infringe the ’606 patent. For example, Google

sells, uses, makes available and provides the Google Accused Instrumentalities, which when

used in their ordinary and customary manner intended by Google, infringe one or more claims of

the ’606 patent, including at least exemplary claim 15. Upon information and belief, Google

further provides product manuals and other technical information that cause Google customers

and other third parties to use and to operate the Google Accused Instrumentalities for their

ordinary and customary use. Google customers and other third parties have directly infringed the

’606 patent, including at least exemplary claim 15, through the normal and customary use of the

Google Accused Instrumentalities. By providing instruction and training to customers and other

third parties on how to use the Google Accused Instrumentalities in an infringing manner,

Google specifically intended to induce infringement of the ’606 patent, including at least

exemplary claim 15. Google accordingly has induced and continues to induce Google customers



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and other users of the Google Accused Instrumentalities in their ordinary and customary way to

infringe the ’606 patent, knowing, or at least being willful blind to the fact, that such use

constitutes infringement of the ’606 patent.

        53.     VoIP-Pal has been and continues to be damaged by Google’s infringement of the

’606 patent.

        54.     Google’s conduct in infringing the ’606 patent renders this case exceptional

within the meaning of 35 U.S.C. § 285.

                                    DEMAND FOR JURY TRIAL

        55.     Pursuant to Rule 38 of the Federal Rules of Civil Procedure and Local Rule 38(a),

VoIP-Pal demands a trial by jury on all issues so triable.

                                      PRAYER FOR RELIEF

        WHEREFORE, VoIP-Pal prays for the following relief:

        a)      A judgment and order that Google has directly infringed (either literally or under

the doctrine of equivalents) and/or induced the infringement of the ’606 patent;

        b)      A judgment and order permanently enjoining Google, its respective officers,

directors, agents, servants, employees, attorneys, licensees, successors, and assigns and any other

person(s) in active concert or participation with Google from directly infringing the ’606 patent

for the full term of that patent;

        c)      A judgment that the infringement of the ’606 patent by Google has been willful;

        d)      A judgment and order requiring Google to pay VoIP-Pal an award of damages

under 35 U.S.C. § 284, adequate to compensate VoIP-Pal for Google’s past infringement, but in

no event less than a reasonable royalty, including enhanced damages as provided by 35 U.S.C. §

284, and supplemental damages for any continuing post-verdict infringement up until entry of



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the final judgment with an accounting, as needed, as well as damages for any continuing or

future infringement up to and including the date that Google is finally and permanently enjoined

from further infringement;

       e)       A judgment and order requiring that in the event a permanent injunction

preventing future acts of infringement is not granted, that VoIP-Pal be awarded a compulsory

ongoing licensing fee;

       f)       A judgment and order that this action be found an exceptional case pursuant to 35

U.S.C. § 285, entitling VoIP-Pal to an award of all costs of this action, including attorneys’ fees

and interest;

       g)       A judgment and order requiring Google to pay VoIP-Pal the costs of this action;

       h)       A judgment and order requiring Google to pay VoIP-Pal pre-judgment and post-

judgment interest on the damages award; and

       i)       Such other and further relief as the Court deems just and equitable.

       Dated: July 31, 2020

                                              Respectfully submitted,


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                                              ATTORNEYS FOR PLAINTIFF
                                              VOIP-PAL.COM, INC.



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                                CERTIFICATE OF SERVICE

       The undersigned certifies that all counsel of record who are deemed to have consented to
electronic service are being served with a copy of the forgoing FIRST AMENDED COMPLAINT
via the Court’s CM/ECF system pursuant to the Federal Rules of Civil Procedure and Local Rule
CV-5(b)(1) this 31st day of July, 2020.

                                          By: /s/Lewis E. Hudnell, III
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